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AO 93C (Rev. § 8/18) Warrant by Telephone of Other Reliable Electronic Means J CJ Original Duplicate Onginal

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UNITED STATES DISTRICT COURT

for the
Central District of California

In the Matter of the Search of

(Briefly describe the property to be searched or identify the
person by name and address)

1344 Paseo Zacate
San Dimas, California 91773

Case No. 2:20-MJ-03885

WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

To: — Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to De sec

and give its location):

See Attachment A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or pr
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B

Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (nor w exceed
C1] in the daytime 6:00 a.m. to 10:00 p.m. O at any time in the day or night because good cause has been establish

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property take
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the

property was taken.
The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inver
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the r

through a filing with the Clerk's Office.

C] Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.€
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or wh

property, will be searched or seized (check the appropriate box)
LJ for days (notto exceed 30) L) until, the facts justifying, the later specific date of

August 18,2020 15:10 p.m. MALL

Judge 's signature

 

 

 

Date and time issued:

 

City and state: Los Angeles, CA HON. MICHAEL R. WILNER, U.S. Magistrate J

Printed name and title

AUSA: Ranee A. Katzenstein (X2432)
ee

 

 

 

 

 

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AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Mears #9E3)0 #93

Return

~ +35 : Date and time warrant executed: Copy of warrant and pnventory left with:
4 .LU- -03885 I LOLP 7 20#M pe OFOICE, YAIELO Ne (V5

Inventory made in the presence of :

S4 Ary ChE. Cl0L-ve

Inventory of the property taken and name of any person(s seized:

 

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Certification

 

 

 

 

 

[ declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: 4 LU. AO Fae I,
/ / Executing officer's signature
IT}

y VALLE YAN A Sips,

Printéd name and title

 

 

 

 

 

 

 

 

 

 

 
